      Case 6:09-cv-00065-C Document 6 Filed 07/27/09                                           Page 1 of 13 PageID 43


                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                        SAN ANGELO DIVISION

 DR. JAMES JONES,                       §
       Plaintiff,                       §
                                        §
 v.                                     §      CIVIL ACTION NO. 6:09-CV-65
                                        §
 ANGELO STATE UNIVERSITY,               §
       Defendant.                       §
_________________________________________________________________________________

         BRIEF IN SUPPORT OF DEFENDANT=S RULE 12(B)(1) AND 12(B)(6)
       MOTION FOR PARTIAL DISMISSAL FOR LACK OF JURISDICTION BASED
     UPON ELEVENTH AMENDMENT IMMUNITY AND FAILURE TO STATE A CLAIM
_________________________________________________________________________________

TO THE HONORABLE SAM R. CUMMINGS, UNITED STATES DISTRICT JUDGE:

          Defendant ANGELO STATE UNIVERSITY (“ASU” or “The University”), hereby files its Brief in

Support of Defendant’s Rule 12(b)(1) and 12(b)(6) Motion for Partial Dismissal for Lack of

Jurisdiction Based Upon Eleventh Amendment Immunity and Failure to State a Claim, and in

support thereof would show this Court the following:

                                                    I.
                                         ARGUMENT AND AUTHORITIES

A.        Rule 12(b) Dismissal Standard.

          1.         Standard under Rule 12(b)(1).

          The Federal Rules of Civil Procedure require dismissal of a lawsuit if the district court lacks

subject matter jurisdiction over the claims asserted in the complaint. FED. R. CIV. P. 12(b)(1); Home

Builders Ass’n of Miss., Inc. v. City of Madison, Miss., 143 F.3d 1006, 1009 (5th Cir. 1998) (“A case

is properly dismissed for lack of subject matter jurisdiction when the court lacks the statutory or

constitutional power to adjudicate the case.”). “[T]he court should consider the Rule 12(b)(1)

Brief in Support of Defendant’s Rule 12(b)(1) and 12(b)(6) Motion for Partial Dismissal
for Lack of Jurisdiction Based Upon Eleventh Amendment Immunity and Failure to State a Claim                        Page 1
      Case 6:09-cv-00065-C Document 6 Filed 07/27/09                                           Page 2 of 13 PageID 44


jurisdictional attack before addressing any attack on the merits.” Ramming v. U. S., 281 F.3d 158,

161 (5th Cir. 2001) (internal quotation marks omitted). “[T]he burden of establishing federal

jurisdiction rests on the party seeking the federal forum.” Howery v. Allstate Ins. Co., 243 F.3d 912,

916 (5th Cir. 2001). Accord Ramming, 281 F.3d at 161 (“the plaintiff constantly bears the burden of

proof that jurisdiction does in fact exist”).

          2.         Standard under Rule 12(b)(6).

          On a motion to dismiss under Rule 12(b)(6), the court is called upon “to determine whether,

in the light most favorable to the plaintiff and with every doubt resolved in his behalf, the complaint

states any valid claim for relief.” Cornish v. Correctional Services Corp., 402 F.3d 545, 548 (5th

Cir. 2005) (brackets and internal quotation marks omitted). “In other words, a motion to dismiss an

action for failure to state a claim admits the facts alleged in the complaint, but challenges plaintiff’s

rights to relief based upon those facts.” Ramming v. U.S., 281 F.3d 158, 161-62 (5th Cir. 2001).

          Recently, the Supreme Court has clarified the standards for dismissal under this rule,
          holding that they are less deferential to the plaintiff’s pleadings than was previously
          thought. In the past, this court has frequently used the expression that a case will not
          be dismissed “unless it appears beyond doubt that the plaintiff can prove no set of
          facts in support of his claim which would entitle him to relief.” The Supreme Court,
          however, recently retired Conley’s “no set of facts” language[,] stating that “the
          phrase is best forgotten as an incomplete, negative gloss on an accepted pleading
          standard.”

Cuvillier v. Taylor, 503 F.3d 397, 401 n. 4 (5th Cir. 2007) (citations and parentheses omitted)

(quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 554-56 (2007) (discussing Conley v. Gibson,

355 U.S. 41, 45-46 (1957)). Now, under the current standard:

          To survive a Rule 12(b)(6) motion to dismiss, a complaint . . . must provide . . .
          factual allegations that when assumed to be true raise a right to relief above the
          speculative level. Conversely, when the allegations in a complaint, however true,
          could not raise a claim of entitlement to relief, this basic deficiency should be
          exposed at the point of minimum expenditure of time and money by the parties and
          the court.
Brief in Support of Defendant’s Rule 12(b)(1) and 12(b)(6) Motion for Partial Dismissal
for Lack of Jurisdiction Based Upon Eleventh Amendment Immunity and Failure to State a Claim                        Page 2
      Case 6:09-cv-00065-C Document 6 Filed 07/27/09                                           Page 3 of 13 PageID 45




Cuvillier, 503 F.3d at 401 (citation, internal quotation marks, and ellipse omitted) (quoting Twombly,

550 U.S. at 555-56). “The pleading must contain something more than a statement of facts that

merely creates a suspicion of a legally cognizable right of action, on the assumption that all the

allegations in the complaint are true (even if doubtful in fact).” Twombly, 127 S.Ct. at 555 (ellipses,

footnote, and internal quotation marks omitted).

B.        All Of Dr. Jones’ Claims, Other Than His Claim Under Title VII and the Federal
          Declaratory Judgment Act, Are Barred By The Immunity Afforded To State Entities
          Under The Eleventh Amendment.

          Under the Eleventh Amendment, federal courts lack jurisdiction to entertain suits in law or

equity against a non-consenting state, or a state agency, by its own citizens. See In re Soileau, 488

F.3d 302, 305 (5th Cir.2007), cert. denied, --- U.S. ----, 128 S.Ct. 1220 (2008); Martinez v. Tex.

Dep't of Criminal Justice, 300 F.3d 567, 573 (5th Cir.2002). For Eleventh Amendment immunity

purposes, a suit against a state agency is a suit against the state. Pennhurst State School & Hosp. v.

Halderman, 465 U.S. 89, 100, 104 S.Ct. 900, 908 (1983). It is therefore well settled that, unless

waived, Eleventh Amendment immunity deprives a federal court of jurisdiction to hear a suit for

damages against the State of Texas, any of its agencies, or a Texas state official. Will v. Mich. Dep't

of State Police, 491 U.S. 58, 71, 109 S.Ct. 2304 (1989); Edelman v. Jordan, 415 U.S. 651, 94 S.Ct.

1347 (1974). ASU is a state institution of higher education organized and administered under the

statutes of the State of Texas, and is thus a state entity entitled to the full panoply of protections and

immunities enjoyed by the State of Texas. See TEX. EDUC. CODE § 109A.001 (b). (West 2009).

          The Eleventh Amendment to the U.S. Constitution states “The Judicial power of the United

States shall not be construed to extend to any suit in law or equity, commenced or prosecuted against

one of the United States by Citizens of another State, or by Citizens or Subjects of any Foreign

Brief in Support of Defendant’s Rule 12(b)(1) and 12(b)(6) Motion for Partial Dismissal
for Lack of Jurisdiction Based Upon Eleventh Amendment Immunity and Failure to State a Claim                        Page 3
      Case 6:09-cv-00065-C Document 6 Filed 07/27/09                                           Page 4 of 13 PageID 46


State.” U.S. CONST. AMEND. XI. (West 2009). There are two well-established exceptions to

Eleventh Amendment immunity. First, Congress can abrogate the state’s immunity without a state’s

consent when acting under its authority under the enforcement provisions of section 5 of the

Fourteenth Amendment. Atascadero State Hospital v. Scanlon, 473 U.S. 234, 238, 105 S.Ct. 3142

(1985). Second, a state may waive its immunity and consent to suit in federal court. Id. The state

may waive its own immunity either by express legislative act, or through certain conduct, such as

removal of a lawsuit from state to federal court. Lapides v. Bd. of Regents of Univ. System of

Georgia, 535 U.S. 613, 624, 122 S.Ct. 1640 (2002). Here, however, Dr. Jones has pled no facts

establishing a waiver of Eleventh Amendment immunity with respect to any of his state law claims,

nor his claims under the U.S. and Texas Constitutions and the ADEA. Accordingly, the University is

entitled to dismissal of those claims for lack of jurisdiction.

          1.         ASU has not waived its immunity from Dr. Jones’ discrimination claims under
                     Chapter 21 of the Texas Labor Code.

          In Counts I and II of his Original Complaint, Dr. Jones asserts claims for religious

discrimination under both Title VII and Chapter 21 of the Texas Labor Code, as well as claims for

age discrimination under the ADEA and Chapter 21. See Plaintiff’s Original Complaint, ¶¶ 4.2-4.15,

pp. 13-16. The University does not contest that its immunity has been validly waived by Congress

with respect to the Title VII claims; however, the claims asserted under Chapter 21 are nevertheless

barred by the Eleventh Amendment. It has long been settled that a state’s waiver of its Eleventh

Amendment immunity must be unequivocally expressed. See, e.g., Edelman v. Jordan, 415 U.S.

651, 673, 94 S.Ct. 1347, 39 L.Ed.2d 662 (1974). A state’s waiver of sovereign immunity in state

court, however, does not mean the state has waived Eleventh Amendment immunity in federal court.

Martinez v. Texas Department of Criminal Justice, 300 F.3d 567 (5th Cir.2002).

Brief in Support of Defendant’s Rule 12(b)(1) and 12(b)(6) Motion for Partial Dismissal
for Lack of Jurisdiction Based Upon Eleventh Amendment Immunity and Failure to State a Claim                        Page 4
      Case 6:09-cv-00065-C Document 6 Filed 07/27/09                                           Page 5 of 13 PageID 47


          In Perez v. Region 20 Educ. Service Center, 307 F.3d 318 (5th Cir.2002), a plaintiff argued that

the Labor Code’s definition of employer – which included state agencies – coupled with the stated

purpose of the Chapter to give effect to the policies embodied in the federal anti-discrimination

legislation, served as proof that the legislature intended to waive Eleventh Amendment immunity from

suit under the Labor Code in federal court. Id. at 332. The Fifth Circuit, however, found that the

language of Chapter 21 clearly evidenced intent by the Texas Legislature to waive sovereign immunity

from suit in Texas state courts, but did not contain a clear and unequivocal intent to waive the state’s

Eleventh Amendment immunity in federal court. Id. Therefore, the court declined to reverse the

district court’s dismissal of the plaintiff’s case on immunity grounds.

          The facts as pled in Dr. Jones’ case here are clearly analogous to those in Perez. Here, Dr.

Jones has pled no facts evidencing a clear and unambiguous waiver of ASU’s Eleventh Amendment

immunity from suit in federal court under the Labor Code. Instead, as in Perez, he appears to rely

solely on the fact that such claims may be brought, without fear of dismissal on immunity grounds, in

state district court. However, because the Labor Code contains no express waiver of Eleventh

Amendment immunity, ASU is entitled to the protections of that defense and the Court must

therefore dismiss those claims on sovereign immunity grounds. Accordingly, ASU respectfully

requests that the Court grant its motion and dismiss Dr. Jones’ age and religious discrimination

claims brought under Chapter 21 of the Texas Labor Code.

          2.         The ADEA does not waive ASU’s Eleventh Amendment immunity.

          In addition to his age claim under the Texas Labor Code, in Count II of his Original

Complaint, Dr. Jones also sues ASU for age discrimination under the federal Age Discrimination in

Employment Act (ADEA). See Plaintiff’s Original Complaint, ¶¶ 4.9-4.15, pp. 15-16. However, the

U.S. Supreme Court has held that the ADEA does not contain a valid waiver of the states’ Eleventh
Brief in Support of Defendant’s Rule 12(b)(1) and 12(b)(6) Motion for Partial Dismissal
for Lack of Jurisdiction Based Upon Eleventh Amendment Immunity and Failure to State a Claim                        Page 5
      Case 6:09-cv-00065-C Document 6 Filed 07/27/09                                           Page 6 of 13 PageID 48


Amendment immunity. Kimel v. Florida Bd. of Regents, 528 U.S. 62, 90, 120 S.Ct. 631 (2000). Dr.

Jones has pled no facts establishing any other valid waiver of the University’s immunity.

Accordingly, this Court has no subject matter jurisdiction to hear any age discrimination claims

brought under the ADEA.

          3.         Section 1983 does not waive ASU’s Eleventh Amendment immunity.

          In Counts III, IV, and V of his Original Complaint, Dr. Jones asserts claims of discrimination,

retaliation, and due process violations under the First, Fifth, and Fourteenth Amendments to the U.S.

Constitution. See Plaintiff’s Original Complaint, ¶¶ 4.16-4.36, pp. 16-22. Although Dr. Jones

purports to bring these claims under the First, Fifth, and Fourteenth Amendments to the U.S.

Constitution, such pleading is not permitted by law because the Constitution does not provide an

inherent mechanism for bringing such claims; rather, the proper mechanism for suing to vindicate

constitutional rights is via the statutory mechanism established by 42 U.S.C. § 1983. See Oden v.

Oktibbeha County, Miss., 246 F.3d 458, 464 (5th Cir. 2001). Dr. Jones has referenced Section 1983

in his constitutional claims and thus, ASU assumes that he intends to invoke the provisions of that

statute in order to assert his constitutional claims in this case.

          The states’ Eleventh Amendment immunity with respect to civil rights claims under 42

U.S.C. § 1983 has been litigated exhaustively; however, the U.S. Supreme Court has unequivocally

held that Section 1983 does not waive a state’s immunity under the Eleventh Amendment. Quern v.

Jordan, 440 U.S. 332, 338 n. 7, 99 S.Ct. 1139 (1979). Thus, state agencies, as subdivisions of the

state, are entitled to the immunity defense when sued under 42 U.S.C. § 1983. Id.; see also

Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 101-02, 104 S.Ct. 900 (1984). Because

ASU is a state entity entitled to the full panoply of protections and immunities enjoyed by the State

of Texas (TEX. EDUC. CODE § 109A.001 (b)) the University is entitled to Eleventh Amendment
Brief in Support of Defendant’s Rule 12(b)(1) and 12(b)(6) Motion for Partial Dismissal
for Lack of Jurisdiction Based Upon Eleventh Amendment Immunity and Failure to State a Claim                        Page 6
      Case 6:09-cv-00065-C Document 6 Filed 07/27/09                                           Page 7 of 13 PageID 49


immunity. Therefore, this Court has no jurisdiction to hear any claims asserted against the

University pursuant to 42 U.S.C. § 1983. Accordingly, Dr. Jones’ claims for due process violations,

First Amendment retaliation, and religious discrimination under the First, Fifth, and Fourteenth

Amendments should be dismissed for lack of jurisdiction.

          4.         The Religious Freedom Restoration Act expressly states that its waiver of
                     immunity does not extend to immunity granted by the Eleventh Amendment.

          In Count VII of his Original Complaint, Dr. Jones asserts a claim for undue burden on his

free exercise of religion in contravention of Chapter 110 of the Texas Civil Practice and Remedies

Code, commonly referred to as the Texas Religious Freedom Restoration Act. See Plaintiff’s

Original Complaint, ¶¶ 4.41-4.43, pp. 23-24. The Act states that “. . . a government agency may not

substantially burden a person's free exercise of religion.” TEX. CIV. PRAC. & REM CODE § 110.003(a)

(West 2009). Further, the Act provides for a variety of remedies including compensatory damages,

attorneys’ fees, and both declaratory and injunctive relief. TEX. CIV. PRAC. & REM CODE §

110.005(a) (West 2009). The Act contains an express waiver of the state’s sovereign immunity in

state district court (TEX. CIV. PRAC. & REM CODE § 110.008(a)), but expressly disclaims any waiver

of immunity enjoyed under the Eleventh Amendment:

          (b) Notwithstanding Subsection (a), this chapter does not waive or abolish sovereign
          immunity to suit and from liability under the Eleventh Amendment to the United
          States Constitution

TEX. CIV. PRAC. & REM CODE § 110.008(b) (West 2009) (emphasis added). Accordingly, Dr. Jones’

claims under the Religious Freedom Restoration Act are clearly barred by the Eleventh Amendment.

For that reason, the Court should dismiss this claim.

          Even if the retention of Eleventh Amendment immunity were not so obviously retained, the

facts as pled (or more importantly not pled) in this case would still warrant dismissal for want of

Brief in Support of Defendant’s Rule 12(b)(1) and 12(b)(6) Motion for Partial Dismissal
for Lack of Jurisdiction Based Upon Eleventh Amendment Immunity and Failure to State a Claim                        Page 7
      Case 6:09-cv-00065-C Document 6 Filed 07/27/09                                           Page 8 of 13 PageID 50


jurisdiction. In addition to its waiver provision, the Act further contains a notice provision requiring

that a plaintiff alleging a violation of the Act first provide a notification letter to the offending state

agency at least 60 days before filing suit. See TEX. CIV. PRAC. & REM CODE § 110.006(a) (West

2009). Dr. Jones has pled no facts demonstrating that he sent a letter complying with all of the

requirements of notice under Section 110.006(a) of the Religious Freedom Restoration Act. Because

notice is a condition precedent to suit, it is therefore jurisdictional under Texas law. See TEX. GOV’T

CODE § 311.034 (West 2009). The absence of a factual recitation demonstrating notice deprives this

Court of jurisdiction to hear a claim under the Religious Freedom Restoration Act. Accordingly, the

Court should dismiss this claim.

          5.         The Eleventh Amendment protects ASU’s sovereign immunity from suit for
                     breach of contract.

          In Count VIII of his Original Complaint, Dr. Jones asserts a claim for breach of contract

against ASU. See Plaintiff’s Original Complaint, ¶¶ 4.44-4.50, pp. 24-25. It is well-settled in Texas

law that, although a state agency may remain liable for the contracts into which it may enter, the state

and its agencies nevertheless enjoy sovereign immunity from suit for breach of contract claims.

Texas Nat. Res. Conserv. Comm’n v. IT-Davy, 74 S.W.3d 849, 854 (Tex.2002). Because Dr. Jones

has pled no valid waiver of ASU’s sovereign immunity from suit for breach of contract, that claim is

barred under the Eleventh Amendment. Accordingly, the Court should grant ASU’s motion and

dismiss Dr. Jone’s breach of contract claim.

          6.         Dr. Jones’ Texas Constitution claims under Article 1, section 8 are barred by
                     the Eleventh Amendment.

          In Count VI of his Original Complaint, Dr. Jones purports to sue ASU for alleged violations

of his free speech rights under Article 1, § 8 of the Texas Constitution. See Plaintiff’s Original

Complaint, ¶¶ 4.37-4.40, p. 23. However, for the same reasons set forth above with respect to his
Brief in Support of Defendant’s Rule 12(b)(1) and 12(b)(6) Motion for Partial Dismissal
for Lack of Jurisdiction Based Upon Eleventh Amendment Immunity and Failure to State a Claim                        Page 8
      Case 6:09-cv-00065-C Document 6 Filed 07/27/09                                           Page 9 of 13 PageID 51


Labor Code claims, Dr. Jones’ claims under the Texas Constitution are barred by Eleventh

Amendment immunity. See University of Texas at Dallas v. Matney, 280 S.W.3d 882 (Tex.App.—

Dallas 2009) (dismissing ADEA claims for both damages and injunctive relief on Eleventh

Amendment grounds). Even if such claims are proper in a state district court, there is no express

waiver of immunity in federal court. Further, to the extent Dr. Jones seeks damages under such a

claim, he may not do so as a matter of law. City of Beaumont v. Bouillion, 896 S.W.2d 143, 147

(“We hold there is no implied private right of action for damages arising under the free speech and

free assembly sections of the Texas Constitution.”). To the extent he seeks only prospective

injunctive relief, Dr. Jones’ claims are moot, as he is no longer employed by the University.

Accordingly, the Court should grant ASU’s motion and dismiss Dr. Jones’ claims under the Texas

Constitution as well.

C.        Even If Immunity Were Waived, Dr. Jones’ Claims Under 42 U.S.C. § 1983 Should Be
          Dismissed Because They Fail To State A Claim Upon Which Relief May Be Granted By
          This Court Because A State Agency Is Not A “Person” For The Purposes Of A Section
          1983 Claim.

          In order to properly assert a § 1983 claim, a plaintiff must assert facts which, if believed,

would demonstrate that (1) a person (2) acting under color of state law (3) subjected the plaintiff or

caused the plaintiff to be subjected to (4) the deprivation of a right secured by the Constitution or

laws of the United States. See West v. Atkins, 487 U.S. 42, 48, 108 S.Ct. 2250, 2255 (1988). As

noted above, Angelo State University is an entity specifically created by Texas statute, funded by

public monies, and included as part of the Texas Tech University System. See TEX. EDUC. CODE §

109A.001 (b) (West 2009). A state entity, however, is not a “person” for the purposes of the first

element of a proper § 1983 cause of action. Will v. Michigan Dept. of State Police, 491 U.S. 58, 71,

109 S.Ct. 2304, 2312 (1989). Thus, because ASU is a state entity, any claims pursuant to 42 U.S.C.

Brief in Support of Defendant’s Rule 12(b)(1) and 12(b)(6) Motion for Partial Dismissal
for Lack of Jurisdiction Based Upon Eleventh Amendment Immunity and Failure to State a Claim                        Page 9
     Case 6:09-cv-00065-C Document 6 Filed 07/27/09                                            Page 10 of 13 PageID 52


§ 1983 asserted against the University do not state a valid claim upon which this Court may grant

relief. Accordingly, Dr. Jones’ claims against ASU are improper and should be dismissed for failure

to state a claim.

D.        Dr. Jones’ Claims Under The Federal Declaratory Judgment Act Do Not State Claims
          For Which This Court Can Grant Relief.

          The Declaratory Judgment Act (DJA) permits federal courts to issue declarations as to the

rights of parties to a controversy. 28 U.S.C. § 2201(a) (West 2009). However, the Act does not

confer jurisdiction on this court; instead, it must be appended or relate to an existing case or

controversy over which the trial court has subject matter jurisdiction. Skelly Oil Co. v. Phillips Co.,

339 U.S. 667, 671-72, 70 S.Ct. 876 (1950); Anago, Inc. v. Tecnol Medical Products, Inc., No.3-92-

250-H, 1992 WL 387242, n3 at *3 (N.D.Tex. Nov. 27, 1992) (citing Borden v. Katzman, 881 F.2d

1035, 1037 (11th Cir.1989). In Count IX of his Original Complaint, Dr. Jones purports to sue for

three declarations:             (1) that Rule 4.71 of the State System’s Rules and Regulations is

unconstitutional; (2) that ASU violated his constitutional rights; and (3) that ASU breached his

contract. See Plaintiff’s Original Complaint, ¶¶ 4.51-4.53, p. 25. However, Dr. Jones’ claims under

the DJA are not properly before the Court because he cannot demonstrate that the Court has subject

matter jurisdiction over a case or controversy relevant to the requested declarations. Skelly Oil, 339

U.S. at 671-72, 70 S.Ct. 876.

          Dr. Jones’ request for a declaration as to the constitutionality of Rule 4.71 and his request

that the Court declare that ASU has violated his constitutional rights both pertain to his civil rights

claims under 42 U.S.C. § 1983 – the only claims which mention his constitutional rights – over

which the Court has no jurisdiction because of Eleventh Amendment immunity. See Section B(3)

supra. Likewise, his request for a declaration that ASU breached his contract pertains to his breach

Brief in Support of Defendant’s Rule 12(b)(1) and 12(b)(6) Motion for Partial Dismissal
for Lack of Jurisdiction Based Upon Eleventh Amendment Immunity and Failure to State a Claim                        Page 10
     Case 6:09-cv-00065-C Document 6 Filed 07/27/09                                            Page 11 of 13 PageID 53


of contract claim, which is also barred by Eleventh Amendment immunity. See Section B(5) supra.

Further, even if the request for a declaration based on the contract action were not barred by the

Eleventh Amendment, it would nevertheless be barred here because a breach of contract claim is a

state law claim, not a federal claim and there is no independent jurisdiction in this Court because the

underlying case – breach of contract – is not a federal claim and there is no diversity of parties

between Dr. Jones and ASU. See Anago, Inc., 1992 WL 387242 at *3 n3. Accordingly, the Court

has no jurisdiction over Dr. Jones’ requests for declaratory relief under the federal DJA. For that

reason, Dr. Jones has failed to state a valid claim, and the Court should dismiss those claims

pursuant to Rule 12(b)(6).

                                                             II.
                                                         CONCLUSION

          FOR THE FOREGOING REASONS, Defendant Angelo State University respectfully

requests that the Court grant its Motion for Partial Dismissal and enter an order dismissing all claims

other than Dr. Jones’ Title VII and Federal Declaratory Judgment Act claims premised on his

contention that Rule 4.71 of the State System’s Rules and Regulations is unconstitutional. All other

claims are clearly barred by Eleventh Amendment immunity. Dr. Jones has pled no waiver of ASU’s

federally protected immunity to his claims under Chapter 21 of the Texas Labor Code, the ADEA,

Section 1983, the Religious Freedom Restoration Act, breach of contract, and the Texas

Constitution. Moreover, his claims under Section 1983 and for declaratory relief under the

Declaratory Judgment Act fail to state a valid claim under Rule 12(b)(6). Accordingly, the only

claim that should remain in this lawsuit is Dr. Jones’ Title VII claims for religious discrimination.

For that reason, Defendant Angelo State University respectfully requests that the Court grant its

Motion for Partial Dismissal and dismiss the aforementioned claims.

Brief in Support of Defendant’s Rule 12(b)(1) and 12(b)(6) Motion for Partial Dismissal
for Lack of Jurisdiction Based Upon Eleventh Amendment Immunity and Failure to State a Claim                        Page 11
     Case 6:09-cv-00065-C Document 6 Filed 07/27/09                                            Page 12 of 13 PageID 54


                                                                          Respectfully submitted,

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Brief in Support of Defendant’s Rule 12(b)(1) and 12(b)(6) Motion for Partial Dismissal
for Lack of Jurisdiction Based Upon Eleventh Amendment Immunity and Failure to State a Claim                        Page 12
     Case 6:09-cv-00065-C Document 6 Filed 07/27/09                                            Page 13 of 13 PageID 55


                                             CERTIFICATE OF SERVICE

       I certify that a copy of the above Brief in Support of Defendant’s Rule 12(b)(1) and 12(b)(6)
Motion for Partial Dismissal for Lack of Jurisdiction Based Upon Eleventh Amendment Immunity
and Failure to State a Claim was served by the following manner, on the 27th day of July 2009,
upon the following individuals at the listed addresses:

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Brief in Support of Defendant’s Rule 12(b)(1) and 12(b)(6) Motion for Partial Dismissal
for Lack of Jurisdiction Based Upon Eleventh Amendment Immunity and Failure to State a Claim                                 Page 13
